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                     IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION

Blockquarry Corp. f/k/a ISW Holdings, Inc.,               C/A No.: 7:23-cv-01427-TMC

        Plaintiff,

v.

Litchain Corp. and Gaffney Board of Public
Works,
                                                   REPLY OF CROSSCLAIMANT,
       Defendants.                                 GAFFNEY BOARD OF PUBLIC
______________________________________             WORKS, TO BLOCKQUARRY’S
                                                   RESPONSE TO MOTION FOR
Gaffney Board of Public Works,                     PARTIAL DEFAULT JUDGMENT
                                                   AGAINST CROSSCLAIM
        Counter-/Crossclaimant,                    DEFENDANT, LITCHAIN CORP.
v.

Blockquarry Corp. f/k/a ISW Holdings, Inc.,
Counterclaim Defendant, and Litchain Corp.,
Crossclaim Defendant.


       COMES NOW Crossclaimant, Gaffney Board of Public Works (“Gaffney BPW”), by and

through undersigned counsel of record, and for its reply to Blockquarry’s Response to Motion for

Partial Default Judgment Filed by Gaffney Board of Public Works (“Blockquarry’s Response”)

(ECF No. 88), states as follows:

       Crossclaimant, Gaffney Board of Public Works’, Rule 55(b)(2) Motion for Partial Default

Judgment Against Crossclaim Defendant, Litchain Corp. (the “Motion”) is currently pending

before this Court and is unopposed. (ECF No. 84). When responding to the Motion, Plaintiff,

Blockquarry Corp. f/k/a ISW Holdings, Inc. (“Blockquarry”), indicated that it “supports and does

not oppose the Court granting the Utility’s Motion,” with the caveat that based on recently learned
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facts indicating the inventories are incorrect, it objects to the references in the Motion and proposed

order to the Affidavit of Donnie L. Hardin (“Hardin Affidavit”), including references to the

inventories attached to the affidavit. (ECF No. 88, pp. 2, 4). Blockquarry and Gaffney BPW have

since agreed to the below proposed default declaration against Litchain Corp. (“Litchain”) relating

to Count III1 of the Amended Counterclaim and Amended Crossclaim for Interpleader, Declaratory

Judgment, and Breach of Contract (the “Amended Counterclaim”):

       The Court DECLARES that Crossclaim Defendant, Litchain Corp., is not the
       rightful owner or recipient of the cryptocurrency mining equipment and other
       personal property remaining at 150 Hyatt Street, Gaffney, South Carolina, when
       Gaffney Board of Public Works terminated the lease identified in Paragraph 12 of
       the Amended Counter- and Cross-complaint filed by Gaffney Board of Public
       Works (ECF No. 23), including all distribution transformers, mining pods, and
       Bitcoin mining servers.

       Blockquarry and Gaffney BPW are in the process of drafting a joint order granting the

relief sought in the present Motion and in Plaintiff’s Motion for Partial Default Judgment Against

Defendant Litchain Corp. (D.E. 63) that includes the above-stated amended declaration. Once the

parties have finalized their proposed language, their consent order will be submitted to the Court

for consideration.

       While grateful the parties have reached a resolution as to the relief sought in the Motion,

due to the insinuations of wrongdoing by Gaffney BPW included in Blockquarry’s Response and

the Declarations of Lawrence Davis, Beau Bartch, and Shawn Vaught (ECF Nos. 88-1, 88-2, and

88-3), Gaffney BPW additionally voices its vehement disagreement with the manner in which

Blockquarry presented its objections to the Hardin Affidavit and the attached inventories to the



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          Gaffney BPW’s Amended Counterclaim contains a typographical error in that two
separate claims for relief are identified as “Count III.” The Count III at issue in the Motion is
included on page 38 of the Amended Counterclaim and seeks a declarations relating to the return
of the deposit refund and cryptocurrency mining equipment at issue in the Complaint.


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Court. The perceived inaccuracies are not relevant to the relief sought by Gaffney BPW in its

Motion, and as evidenced by the consent declaration articulated above, the parties could have

resolved their differences without unnecessary finger-pointing by Blockquarry.

       In its Response, Blockquarry misconstrues the information contained in the Hardin

Affidavit and attached inventories. Blockquarry approved the Hardin Affidavit prior to filing and

has always known the inventory submitted by Bitmain to Gaffney BPW was potentially incomplete

and inaccurate. (See, e.g., EC F No. 83-1, Hardin Affidavit, ¶¶ 24-25). The parties have always

used those inventories as their best guess as to the machines locked onsite at Gaffney BPW, with

knowledge that Blockquarry was the last party with access to the equipment and that Gaffney BPW

has never had firsthand knowledge of the details of the cryptocurrency mining equipment kept

onsite. All references to the Hardin Affidavit and attached inventories by Gaffney BPW were an

attempt to be thorough, not an attempt to mislead the Court or confuse the issues. Blockquarry’s

mischaracterization of the Hardin Affidavit and attached inventories only confuse the issues before

the Court and inaccurately make Gaffney BPW look like it has engaged in foul play and must be

disregarded.

       Likewise, the Declarations of Lawrence Davis, Beau Bartch, and Shawn Vaught (ECF Nos.

88-1, 88-2, and 88-3) also confuse the issues before the Court and self-servingly paint Gaffney

BPW in a negative light. Blockquarry and Gaffney BPW filed a joint stipulation of dismissal with

prejudice as to all claims and counterclaims against one another on November 2, 2023. (ECF No.

73). The only pending claims before this Court are against Litchain. Blockquarry’s claims of

wrongdoing against Gaffney BPW, raised for the first time in a response to an unrelated motion,

are wholly irrelevant, frivolous, and will be further addressed in a motion to strike to be filed by

Gaffney BPW.




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       Finally, the information contained in the Declarations of Lawrence Davis, Beau Bartch,

and Shawn Vaught misconstrue the series of events surrounding the release of the cryptocurrency

mining equipment at issue in the Complaint to Blockquarry, an act that is again irrelevant to the

relief sought by Gaffney BPW in its motion for default against Litchain. So that the record before

this Court is complete, with its motion to strike, Gaffney BPW will file the Declaration of H.

Bradford Wright to clarify the misstatements contained in the declarations filed by Blockquarry

and accurately apprise the Court of the actions taken by Gaffney BPW to secure the Premises,

comply with the dictates of this Court, and work with Blockquarry following the entry of default

against Litchain to promptly release the cryptocurrency mining equipment in a secure manner.

       Because the actions taken by Gaffney BPW with respect to maintaining the security of the

Premises and releasing the cryptocurrency mining equipment to Blockquarry are irrelevant to the

default declaratory judgments against Litchain sought by Gaffney BPW and consented to by

Blockquarry, the aforementioned motion to strike and Declaration of H. Bradford Wright will be

filed separate from this Reply.

                                         CONCLUSION

       In light of the foregoing, including the consent of Blockquarry, Gaffney BPW respectfully

requests that the Court grant its Motion for Partial Default Judgment Against Crossclaim

Defendant, Litchain Corp. and enter default declaratory judgments as to Counts III and IV of its

Amended Crossclaim that state:

               The Court DECLARES Crossclaim Defendant Litchain Corp. is not the
               rightful recipient of the deposit refund of $440,178.19, the amount of the
               original utility deposit paid to Crossclaimant Gaffney Board of Public
               Works that remains after the deduction of the outstanding utility payments
               and property upfitting expenses owed by Crossclaim Defendant Litchain
               Corp. to Crossclaimant Gaffney Board of Public Works; and




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              The Court DECLARES that Crossclaim Defendant, Litchain Corp., is not
              the rightful owner or recipient of the cryptocurrency mining equipment and
              other personal property remaining at 150 Hyatt Street, Gaffney, South
              Carolina, when Gaffney Board of Public Works terminated the lease
              identified in Paragraph 12 of the Amended Counter- and Cross-complaint
              filed by Gaffney Board of Public Works (ECF No. 23), including all
              distribution transformers, mining pods, and Bitcoin mining servers.

              The Court DECLARES that the Non-disclosure Confidentiality and Non-
              Circumvention Agreement entered into between Crossclaimant Gaffney
              Board of Public Works and Crossclaim Defendant Litchain Corp. is ultra
              vires, invalid, void, and unenforceable.

       A consent order restating these proposed declarations will be submitted to the Court via e-

mail, with opposing counsel copied.



                                            Respectfully submitted,

                                            POPE FLYNN, LLC

 January 26, 2024                     By:    /s/ Virginia P. Bozeman
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